4:09-cr-03111-RGK-CRZ      Doc # 135    Filed: 10/01/14   Page 1 of 1 - Page ID # 348




                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,               )
                                        )
                   Plaintiff,           )                 4:09CR3111
                                        )
            V.                          )
                                        )
HECTOR N. CERVANTES                     )      MEMORANDUM AND ORDER
RIVERA,                                 )
                                        )
                   Defendant.           )


      The defendant has filed what appears to be a motion seeking relief under
Sentencing Guideline Amendment 782. (Filing Nos. 132 and 133.)

      IT IS ORDERED that this matter will be held in abeyance pursuant to General
Order No. 2014-08. The Clerk shall provide the defendant with a copy of this order
and General Order No. 2014-08. The Clerk shall also give notice of the entry of this
order to the United States Attorney, to the Federal Public Defender, and to the
Supervisory United States Probation Officer who handles presentence reports.

      Dated October 1, 2014.

                                       BY THE COURT:

                                       Richard G. Kopf
                                       Senior United States District Judge
